Case 2:04-CV-02056-SHI\/|-tmp Document 35 Filed 04/20/05 Page 1 of 2 Page|D 52

IN THE uNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DIS'I'RICT oF TENNESSEE 05 APR 20 B.H 3- i

WESTERN DIVISION
ROBEWTR.Di"f!O

nl r'r'\l/ irc f'"~§
L/L..\...l .»\, u.u.

o. svf
W.D. OF TN, MEileHIS

MILDRED MINNIS, ET AL.,
Plaintiffs,
v.

No. 04-2056 Ma/P

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court are defendants County' of Shelby, Shelby
County Assessor and Shelby County Trustee's motion to dismiss,
filed January 21, 2005, and defendant City of Memphis’ motion to
dismiss, filed January 27, 2005. Plaintiffs have not yet responded
to these motions, and the time for response has passed. Plaintiffs
are hereby ordered to show cause within eleven (ll) days from the
date of this order as to why defendants' motions should not be

granted.

So ordered this ]q*kday of April 2005.

ewme

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket beet in compliance
With eula 58 and/or 79(3) FHCP on fE-» 2 l ~ c> §

sA'Es'TDlsRI'T OURT WESTER DT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02056 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Dedrick Brittenum

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

Bruce McMullen

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Craig E. Willis

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

.1. Martin Regan

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Richard B. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 .1 efferson Ave.

1\/1emphis7 TN 38105--193

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

